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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

ANTHONY D. GULLUNI,                           )
District Attorney for the Hampden             )
County in the Commonwealth of                 )
Massachusetts,                                )
                                              )
       Plaintiff,                             )
                                              )
       v.                                     )       Civil Action No. 3:21-cv-30058-NMG
                                              )
NATHANIEL R. MENDELL,                         )
Acting United States Attorney for             )
the District of Massachusetts,                )
                                              )
       Defendant.                             )

                  PLAINTIFF’S STATEMENT OF MATERIAL FACTS
              IN SUPPORT OF HIS MOTION FOR SUMMARY JUDGMENT

       Pursuant to Local Rule 56.1, the plaintiff, Anthony D. Gulluni, hereby provides the

following statement of material facts, to which there is no issue, in support of his motion for

summary judgment.

               1.      The plaintiff, Anthony D. Gulluni, is the duly elected and sworn District

       Attorney for Hampden County in the Commonwealth of Massachusetts. See Appendix

       Exhibit 1 (Affidavit of Jennifer N. Fitzgerald) at ¶ 1.

               2.      For approximately 27 months, the Civil Rights Division of the United

       States Department of Justice (“DOJ”) conducted an investigation into alleged

       wrongdoing at the Springfield Police Department (“SPD”), particularly with respect to

       officers of the narcotics department. See Appendix Exhibit 2 (DOJ Report) at 1-2.

               3.      During that investigation, the DOJ reviewed more than 114,000

       documents provided to it by the SPD. See Appendix Exhibit 2 at 3.
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       4.      The DOJ had direct access to the SPD computer system so that it could

conduct its document review without participation or assistance from the SPD, and

without informing the SPD which documents it reviewed. See Appendix Exhibit 1 at ¶ 3.

       5.      The DOJ also interviewed more than 40 witnesses as part of its

investigation. See Appendix Exhibit 2 at 7.

       6.      On July 8, 2020, the DOJ issued a report describing its investigation into

the SPD. See Appendix Exhibit 2 at 1.

       7.      On August 19, 2020, plaintiff submitted a request to the United States

pursuant to United States ex rel. Touhy v. Ragen, 340 U.S. 462 (1951) (“Touhy Request”)

for false or falsified reports authored by SPD officers. See Appendix Exhibit 3

(Administrative Record) at 21-25.

       8.      The plaintiff submitted a follow-up letter regarding the request on

September 14, 2020. See Appendix Exhibit 3 at 7-9.

       9.      The plaintiff’s Touhy Request complied with the procedural requirements

of 28 C.F.R. §16.22 et seq. See Appendix Exhibit 3 at 2.

       10.     On October 21, 2020, the United States denied the request, refusing to

produce any documents in response to the request. See Exhibit 3 at 1-5.

       11.     The October 21, 2020, letter constituted a final decision of the DOJ. See

Appendix Exhibit 3 at 5.

       12.     On his own initiative, Springfield City Solicitor Edward Pikula requested,

and SPD Deputy Chief Steven Kent was directed to, review the DOJ report and attempt

to identify the incidents described in the report. See Appendix Exhibit 1 at ¶ 4.
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       13.     According to Solicitor Pikula, Deputy Chief Kent believes that he likely

has identified approximately 16 of the 20 to 23 incidents described in the DOJ report and

the 30 officers involved in those incidents. See Appendix Exhibit 1 at ¶ 5.

       14.     There remain at least four (4) incidents at least which were specifically

described in the DOJ report, but Deputy Chief Kent was unable to identify. See

Appendix Exhibit 1 at ¶ 6.

       15.     In addition to the still-unidentified incidents specifically described in the

DOJ report, there are numerous more general criticisms and allegations of misconduct by

the SPD that are unsupported by any identifying details. See Appendix Exhibit 1 at ¶ 7.

       16.     Based on Deputy Chief Kent’s identification of certain incidents and

officers, the plaintiff has begun the process of disclosing the SPD reports associated with

those incidents to defense counsel in all cases where those officers are mentioned in the

reports. See Appendix Exhibit 1 at ¶ 8.

       17.     There are approximately 8419 cases in which disclosure has been or will

be made of the exculpatory materials identified through this process. See Appendix

Exhibit 1 at ¶ 9.

       18.     The process of making disclosures to counsel for these was begun in

September 2021 and is expected to continue through approximately March/April 2022.

See Appendix Exhibit 1 at ¶ 10.

       19.     Two individual defendants, two defense attorneys, the Massachusetts

Committee for Public Counsel Services, and the Hampden County Lawyers for Justice,

represented by American Civil Liberties Union, have filed an original petition in the

Supreme Judicial Court against the Hampden County District Attorney, accusing the
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       HCDAO of systematically withholding exculpatory evidence about misconduct by the

       SPD, and seeking an order that HCDAO conduct an investigation into the misconduct as

       reported by the DOJ, as well as various other procedural and substantive remedies for

       alleged Brady violations. See Appendix Exhibit 1 at ¶ 11.

              20.    According to Solicitor Pikula, the DOJ and the Springfield Police

       Department have been engaged in discussions regarding a consent decree and are nearly

       complete. See Appendix Exhibit 1 at ¶ 12.

                                            Respectfully submitted,

                                            ANTHONY D. GULLUNI,
                                            District Attorney for the Hampden
                                            County in the Commonwealth of
                                            Massachusetts,

                                            By his attorneys,

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                                 CERTIFICATE OF SERVICE

        I hereby certify that this document(s) filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).


Dated: January 31, 2022                       /s/ Thomas M. Hoopes
                                              Thomas M. Hoopes, Esq.
